               Case 1:17-cv-00911-MCW Document 5 Filed 07/07/17 Page 1 of 2

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                                                     No.     l7-9llC
                                                (Filed: July 7,2017)
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                                                             *                      JUt - 7 2017
ROBERT R. HOLLOWAY,                     III,                 *
                                                                                   U,S. COURT OF
                                                             *
                                                                                  FEDERAL CI.AIMS
                     Plaintiff,                              *
                                                             t

                                                             *
THE UNITED             STATES,                               *
                                                             *
                     Defendant.                              *
                                                             *
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                                              ORDER OF DISMISSAL


        On July 5, 2017 , Ws se Plaintiff Robert R. Holloway, III, filed a complaint in this Court
slyled as Magnum XL. Inc. v. Harley-Davidson of Greensboro. DBA Harley-Davidson ("Harley
Davidson"). It appears that the real party in interest, Magnum XL, Inc., is a corporation that must
be represented by counsel under Rule 83.1(a)(1) of the Rules of the Court of Federal Claims
(r{cFC).

         Rule 83.1(aX3) states in pertinent part:

         An individual who is not an attomey may represent oneself or a member of one's
         immediate family, but may not represent a corporation, an entity, or any other
         person in any proceeding before this court. The terms counsel, attomey, and
         attorney ofrecord include such individuals appearing p1q59.

I{CFC 83.1(aX3).

       Magnum XL, Inc. is not a natural person and must be represented by counsel. Mr' Robert
Holloway filed the complaint on behalf of Magnum XL, Inc. and does not identify himself as an
attorney. Rule 4l(b) allows the Court to dismiss a case if the plaintiff fails to comply with the
Couft's rules. RCFC 41ft).

       In any cvent, this Court lacks jurisdiction over an action against Harley Davidson, as the
only proper defendant in this Court is the United States. United States v. Sherwood, 3 l2 U.S. 584,




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           Case 1:17-cv-00911-MCW Document 5 Filed 07/07/17 Page 2 of 2




588(1941);Berdickv.UnitedStates,6l2F.2d533,536(Ct.Cl. 1979). AsPlaintiffhasnotnamed
the United States as the Defendant in this action, this Court does not have jurisdiction over
Plaintilf s claim.

        The Clerk is directed to dismiss Plaintiffs complaint without prejudice. PlaintilPs motion
to proceed in forma pcupgds is denied as moot.
